Respondent moves to dismiss the appeal because of the failure of appellant to file the undertaking for costs required by section 940 of the Code of Civil Procedure.
Notice of appeal was filed with the clerk of the superior court November 16, 1919, and the printed transcript, containing the judgment-roll and two bills of exceptions, was filed in this court on December 24, 1919.
[1] The filing of the notice of appeal without an undertaking complied with the provisions of section 941b of the Code of Civil Procedure, and thereupon this court acquired jurisdiction of the appeal. After jurisdiction is thus vested in this court, the appellant may elect to prepare his transcript under section 950 of the Code of Civil Procedure, instead of adopting the alternative method permitted by section 953a of the same code, without affecting the validity of his appeal. (Lang v. Lilley Thurston Co., 161 Cal. 295, [119 P. 100].)
Motion denied.
Finlayson, P. J., and Thomas, J., concurred. *Page 58 